                  Case 24-10755-CTG
PARLEMENT TECHNOLOGIES,   INC.         Doc 19 COVARRUBIAS
                                 ALDO VELASCO Filed 05/02/24   PageAMERICAN
                                                                    1 of 11 NEVADA REALTY LLC
C/O VERDOLINO & LOWEY, P.C.      PROLONGACION CAVIOTAS #231       DBA AMERICAN NEVADA REALTYLL
124 WASHINGTON STREET, SUITE 101 FRACO LOMA BONITA                2360 CORPORATE CIRCLE #330
FOXBORO, MA 02035                DURANGO DGO CP 34197             HENDERSON, NV 89074
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WILMINGTON, DE 19801


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1701 PEARL STREET #4               512 RED BUD ROAD               1340 TROY STREET
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IRVINE, CA 92618                   NEW YORK, NY 10022             AUSTIN, TX 78759




901 WOODLAND ST TENANT LLC         ALMA RISK MANAGEMENT           ANC VILLAGE VIEW LLC
901 WOODLAND ST                    2 EATON GATE                   DBA ANC VILLAGE VIEW LLC
NASHVILLE, TN 37206                LONDON                         460 BUSH STREET
                                   UNITED KINGDOM                 SAN FRANCISCO, CA 94108


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APEX, NC 27502                     NEW YORK, NY 10038             WARSZAWA
                                                                  POLAND


AI CORPORATE INTERIORS INC.        AMERICAN CONSERVATION UNION FOUNDATION
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3017B 2ND AVENUE SOUTH             1199 N FAIRFAX ST, SUITE 500   9551 CALUMENT COURT
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ALBERT MUKHUTDINOV                 AMERICAN DEFENSE INTERNATIONAL INC.
                                                                   ANDREW SOULSBY
KAZAN 20-115                       1100 NEW YORK AVENUE, NW        HONEYPOTS SOLUTIONS
420124                             WEST TOWER, SUITE 630           6 MONACO STREET
RUSSIAN FEDERATION                 WASHINGTON, DC 20005            PARKDALE VIC 3195
                                                                   AUSTRALIA

ALCHEMY DATA CENTER LLC            AMERICAN MEDIA GROUP           ANDY NGO
5955 DE SOTO AVENUE, SUITE 220     1419 E 4TH AVENUE              6235 SE GRANT STREET
WOODLAND HILLS, CA 91367           TAMPA, FL 33605                PORTLAND, OR 97215
ANNA PAULINA LUNA Case 24-10755-CTG
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                                                      CRTV LLC PageCARLSBERG
                                                                    2 of 11   DATA CENTER
10601 GANDY BLVD N APT 3204     8275 S EASTERN AVENUE, STE 200-245 1880 CENTURY PARK EAST
ST PETERSBURG, FL 33702         LAS VEGAS, NV 89123                STE 1410
                                                                   LOS ANGELES, CA 90067


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75 TREMONT STREET               900 WIGWAM PKWY SUITE 155        PO BOC 910182
BRAINTREE, MA 02184             HENDERSON, NV 89014              DENVER, CO 80291-0182




ARELION / FORMERLY TELIA CARRIER BONGINO INC.                    CEREBRAL PARTNERS LLC
2325 DULLES CORNER BLVD # 550    2239 SW MANELE PLACE            688 CARDIUM STREET
HERNDON, VA 20171                PALM CITY, FL 34990             SANIBEL, FL 33957




AT&T                            BRIGITTE SZIVOS                  CESAR PEREZ-ZALDIVAR
PO BOX 5014                     209 HENDERSON ROAD               1705 MT HOOD ST
CAROL STREAM, IL 60197-5014     PITTSBURGH, PA 15237             LAS VEGAS, NV 89156




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LEVEL 6, 341 GEORGE STREET      PO BOX 23079                     5805 STATE BRIDGE RD G77
SYDNEY                          NEW YORK, NY 10087-3079          JOHNS CREEK, GA 30097
NSW 2000
AUSTRALIA

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SEATTLE, WA 98109               WASHINGTON, DC 20001            DE1-0153
                                                                WILMINGTON, DE 19801


BAILEY BLUNT                    BRUCE SALTZMAN                   CHASE HAYNES
7600 CABOT DR APT# 1115         1135 DEERFIELD PT                230 W. MUNROE, SUITE 1920
NASHVILLE, TN 37209             ALPHARETTA, GA 30004             CHICAGO, IL 60607




BARBA CFO                       CALFO EAKES                      CHERRY BEKAERT LLP
200 CENTERVILLE ROAD, UNIT 7    1301 2ND AVE #2800               ATTN: ACCOUNTS RECEIVABLE
WARWICK, RI 02886               SEATTLE, WA 98101                P.O. BOX 25549
                                                                 RICHMOND, VA 23260-5500


BENJAMAIN JOHNSON               CAPITAL HQ LLC                   CHRISTINA MILLER
DBA BENNY LLC                   320 EAST 58TH STREET, APT 2B     17170 HARBOUR POINT DRIVE #6
1505 S GEORGIA AVE              NEW YORK, NY 10022               FORT MEYERS, FL 33908
TAMPA, GA 33629


BEST GUEST MEDIA                CARLIE SHEA MCMAHON              CIB STUDIOS - CAM BRIONES
PO BOX 3034                     1028 CHERRYBROOK DR              11487 FISHER AVE.
WAYNE, NJ 07474-3034            HARRISONBURG, VA 22802           WARREN, MI 48089
CIRTUAL LLC        Case 24-10755-CTG
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2843 BITTING ROAD                620 8TH AVE 45 TH FLOOR              1093 SECRETARIAT DRIVE
WINSTON-SALEN, NC 27104          NEW YORK, NY 10018                   MOUNT JULIET, TN 37122




CISION US INC                     DATAVAIL CORPORATION                DYNASCALE INC
12051 INDIAN CREEK COURT          11800 RIDGE PARKWAY, SUITE 125      2640 MAIN STREET
BELTSVILLE, MD 20705              BROOMFIELD, CO 80021                IRVINE, CA 92614




CLARK COUNTY ASSESSOR             DAVID J. MERRILL, P.C.              E78 PARTNERS, LLC
500 S. GRAND CENTRAL PKWY.        10161 PARK RUN DRIVE, SUITE 150     1301 W. 22ND ST.
LAS VEGAS, NV 89155               LAS VEGAS, NV 89145                 SUITE 410
                                                                      OAK BROOK, IL 60523


CLEAR LINK SYSTEMS INC            DELANOYE STRATEGIES LLC             ELECTROLIFT CREATIVE LLC
5211 LINBAR DRIVE SUITE 500       1407 GREEN AVENUE #257              75 WEST STREET, PH B
NASHVILLE, TN 37211               ORANGE, TX 77630                    NEW YORK, NY 10006




COHNREZNICK LLP                   DELL MARKETING LP                   ERIC GAJNAK
14 SYLVAN WAY 3RD FLOOR           500 FIRST AVENUE                    3123 AVALON WAY
PARSIPPANY, NJ 07054              PITTSBURGH, PA 15222                SHREWSBURY, MA 01545




CONVERGENT OUTSOURCING INC        DESIGN BUNNIES INC                  ERVIN COHEN & JESSUP, LLP
PO BOX 9004                       4952 S RAINBOW BLVD # 339           9401 WILSHIRE BLVD., 12TH FLOO
RENTON, WA 98057                  LAS VEGAS, NV 89118                 ATTN: MICHAEL D. MURPHY, ESQ
                                                                      BEVERLY HILLS, CA 90212-2974


COX BUSINESS                      DESIGNERS MANAGEMENT AGENCY         EVERYTHING PROMO
PO BOX 53262                      68 WHITE STREET 3RD FLOOR           ONE LIBERTY PLAZA
PHOENIX, AZ 85072-3262            NEW YORK, NY 10013                  165 BROADWAY, SUITE 2301
                                                                      NEW YORK, NY 10006


CRGO GLOBAL                     DOUG FULLER                           EVON ONUSIC
950 PENINSULA CORPORATE CIRCLE SUITE
                                50 MAYNARD
                                     300    ST. APT 135               DBA ONUSIC LLC
BOCA RATON, FL 33487            ATTLEBORO, MA 02703                   760 HOMER AVENUE
                                                                      PALO ALTO, CA 94607


CSC                               DRAIN THE SWAMP MEDIA LLC           FIGMA INC.
P.O. BOX 7410023                  PO BOX 13454                        760 MARKET STREET FLOOR 10
CHICAGO, IL 60674-5023            4520 W. OAKELLAR AVE                SAN FRANCISCO, CA 94102
                                  TAMPA, FL 33611


CT CORPORATION                    DUELLO CREATIVE LLC                 FOR SUCH A TIME AS THIS LLC
PO BOX 4349                       5844 FAIRSTONE CT. SE               4834 SMINOLE AVENUE
CAROL STREAM, IL 60197-4349       SALEM, OR 97306                     ALEXANDRIA, VA 22312
FRAGOMEN, DELREY, Case 24-10755-CTG
                  BERSEN  & LOEWY  LLP Doc 19
                                GREENBERG      Filed 05/02/24
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                                                                         4 of 11GMBH
90 MATAWAN ROAD                 200 PARK AVENUE                        KORTUMSTR. 68
PO BOX 2001                     NEW YORK, NY 10166                     44787 BOCHUM
MATAWAN, NJ 07747                                                      GERMANY


FRANK J. KINNEY. III              GTT AMERICAS LLC                     INCULTURE INC
3550 ROYAL TERN CIRCLE            7900 TYSONS ONE PL SUITE 1450        DBA FREEMINDS
BOYNTON BEACH, FL 33436           MCLEAN, VA 22102                     2929 E 12TH STREET
                                                                       AUSTIN, TX 78702


GENTRY GEVERS                     HARMON RESEARCH GROUP, LLC           INK VENTURES LLC
116718 235TH AVE SE               1050 S MILES COURT                   2222 12TH AVE S, SUITE 300
ISSAQUAH, WA 98027                ANAHEIM, CA 92808                    NASHVILLE, TN 37215




GEORGE FARMER                     HEADWATER MEDIA                      INSPERITY
901 WOODLAND ST., SUITE 104       ARLINGTON, VA 22209                  19001 CRESCENT SPRINGS DRIV
NASHVILLE, TN 37206                                                    CENTER IV
                                                                       KINGWOOD, TX 77339


GHN CONSULTING LLC                HEDIN HALL LLP                       INTERNAL REVENUE SERVICE
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MIAMI, FL 33131                   ATTENTION FRANK S. HEDIN, ESQ.       PO BOX 7346
                                  MIAMI, FL 33131                      PHILADELPHIA, PA 19101-7346


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PO BOX 452418                     100 E PINE STREET STE 110            PO BOX 100391
GROVE, OK 74344                   ORLANDO, FL 32801                    PASADENA, CA 91189-0391




GODDARD CONSULTING                HIVE / FORMERLY CASTLE GLOBAL INC
                                                                  JACKSON LEWIS PC
125 SAGE WAY                      100 1ST ST                      10701 PARKRIDGE BLVD STE 300
NAPA, CA 94559                    SAN FRANCISCO, CA 94105         RESTON, VA 20191




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                                 HOLLAND
                                    LLP   & HART                       JAMES CODY DUMAY
2 ROOSEVELT AVENUE               555 17TH STREET, SUITE 3200           4916 TRADEWINDS TERRACE
PORT JEFFERSON STATION, NY 11776 DENVOR, CO 80202                      FT LAUDERDALE, FL 33312




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PENSACOLA, FL 32507               BRENTWOOD, TN 37027                  HERMITAGE, TN 37076




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                                                                    SECURI
                                                                        KARLINSKI JR
1100 MAIN ST                      33 S. STATE STREET, 10TH FLOOR 3135 S MOJAVE ROAD #209
KANSAS CITY, MO 64105             CHICAGO, IL 60603-2802         LAS VEGAS, NV 89121
JAMIE MCFARLING    Case 24-10755-CTG   Doc COSBY
                                 JONATHAN  19 Filed 05/02/24   PageKATIE
                                                                    5 of 11
                                                                          MCKERNAN
14897 PARKER RANCH RD            505 HAMPTON RIDGE ROAD            2913 LOCKRIDGE RD SW
BISMARCK, ND 58503               NORCROSS, GA 30093                ROANOKE, VA 24014




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223 KILLIAN LOOP                 4121 NE 8TH PL                    525 W MONROE STREET
HUTTO, TX 78634                  CAPE CORAL, FL 33909              CHICAGO, IL 60661




JED RUBENFELD                    JOSHUA LEVINE                     KEMET ELECTRIC LLC
1031 FOREST RD                   88 URBAN CLUB RD                  556 NO EASTERN - STE D-167
NEW HAVEN, CT 06515              WAYNE, NJ 07470                   LAS VEGAS, NV 89101




JEFFREY WERNICK                  JULIANNE SHINTO DBA IMPRIMATUR    KENNETH W MAYO
354 WESTBOURNE DRIVE             269 S. BEVERLY DRIVE #145         98 TROON WAY
WEST HOLLYWOOD, CA 90048         BEVERLY HILLS, CA 90212           AIKEN, SC 29803




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LOUISVILLE, KY 40241             KHARKIV POZDOVZHNYA ST 1          DALLAS, TX 75284
                                 92
                                 UKRAINE

JLK POLITICAL STRATEGIES         KARLI KARANDOS                    KORY HARVEY
PO BOX 14662                     501 NE 31ST APT 3207              459 BEECHWOOD CIRCLE
RICHMONT, VA 23221               MIAMI, FL 33137                   BURNS, TN 37029




JOBOT LLC                        KAROL PYSNIAK                     LAS VEGAS EXPO INC
18575 JAMBOREE RD, SUITE 600     ROGOWSKIEGO 9, APT 78             4075 EAST POST ROAD
IRVINE, CA 92612                 LUBLIN                            LAS VEGAS, NV 89120
                                 POLAND


JOHN M. POSOBIEC III             KAROLIS JURGELEVICIUS             LAURA VIRGINIA FERRY
7711 MOUNT BLANC ROAD            5321 OLD STAGE ROAD               10218 N 3900 W
HANOVER, MD 21076                ANGIER, NC 27501                  CEDAR HILLS, UT 84062




JOHN MATZE                       KATHERINE N. BROWN                LAW OFFICE OF ALEX KOZINSKI
C/O PISANELLI BICE PLLC          200 NORTH FAIRFAX STREET, STE 3   33 MARGUERITE DR
400 SOUTH 7TH ST                 ALEXANDRIA, VA 22314              RANCHO PALOS VERDES, CA 9027
STE 300
LAS VEGAS, NV 89101

JON WIERZBOWSKI                  KATHY WEREB                       LAYER CAKE SOCIAL KITCHEN
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TAMPA, FL 33611                  LAHAINA, HI 96761                 NASHVILLE, TN 37201
                   Case 24-10755-CTG
LBMC STAFFING SOLUTIONS  LLC            Doc 19 INC
                                 MAIL MONTIOR    Filed 05/02/24   PageMATT
                                                                       6 of 11
                                                                            FRADD LLC
PO BOX 1869                      215 S BROADWAY                      CATHOLIC BOOKING C/O MATT F
BRENTWOOD, TN 37024              SALEM, NH 03079                     1112 WEST LAREDO
                                                                     AVENUE GILBERT, AZ 85233


LBMC TECHNOLOGY SOLUTIONS LLC     MARBELL AG                         MATTHEW MILLER
PO BOX 1869                       LUZERNERSTRASSE 1                  10138 FIRE RIDGE CT
BRENTWOOD, TN 37024-1869          ROTKREUZ 6343                      HENDERSON, NV 89014
                                  SWITZERLAND


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NEW YORK, NY 10017                HANCOCK, MI 49930                  JACKSONVILLE, NC 28540




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MIAMI, FL 33131


LOS ANGELES PARTYWORKS INC        MARCUS MONROE                      MINDTRUST LABS
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SOUTH EL MONTE, CA 91733          NEW YORK, NY 10128                 NEW HAVEN, CT 06513




LOVITT & TOUCHE - MESH & MCLENNAN
                               MARIANA
                                  AGENCY
                                       GALVAO DUARTE DUTRA           MNDTRST INC
PO BOX 741259                  2714 COUNTY ROAD A14                  470 JAMES STREET, STE 11
LOS ANGELES, CA 90074-1259     DECORAH, IA 52101                     NEW HAVEN, CT 06513




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                                                                                              &
CYSTERSOW 20E/50                  4966 BROADWAY, APT 35              565 FIFTH AVENUE
KRAKOW 31-553                     NEW YORK, NY 10034                 NEW YORK, NY 10017
POLAND


LUMEN                             MARK C BAKER                       NCUBE LIMITED
1025 ELDORADO BLVD                901 SE ALGONQUIAN CT               86-90 PAUL STREET
BROOMFIELD, CO 80021              PRINEVILLE, OR 97754               LONDON, EC2A4NE
                                                                     UNITED KINGDOM


LUMEN                             MARK WILLIAMS                      NEARSHORE TECHNOLOGY COMLL
LEVEL 3 COMMUNICATIONS LLC        19805 BETHPAGE CT                  1353 RIVERSTONE PARKWAY, SU12
PO BOX 910182                     ASHBURN, VA 20147                  CANTON, GA 30114
DENVER, CO 80291-0182


LUMINATE MEDIA INC.               MARSH & MCLENNAN AGENCY LLC        NEVADA DEPT OF TAXATION
68 OLIVE AVENUE                   PO BOX 741259                      1550 COLLEGE PARKWAY, SUITE#1
TORONTO                           LOS ANGELES, CA 90074-1259         CARSON CITY, NV 89706
ON M6G1V1
CANADA
NEVADA EMPLOYMENTCase  24-10755-CTG
                    SECURITY DIVISION  Doc 19 SOLUTIONS
                                 ODP BUSINESS   Filed 05/02/24
                                                           LLC   PagePAMELA
                                                                      7 of 11 CALAPAI
2800 E ST LOUIS AVE              6600 NORTH MILITARY TRAIL           504 CREEKSTONE CT
LAS VEGAS, NV 89104              BOCA RATON, FL 33496                DICKSON, TN 37055




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                                                                PAMELA HAZELTON
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NORTHGLENN, CO 80234             HICKORY, KY 42051              CAPE CORAL, FL 33915




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3101 OCEAN PARK BLVD STE 100 PMB 12175
                                 166   VISIONARY WAY, SUITE 1020     613 EWING AVENUE
SANTA MONICA, CA 90405           FISHERS, IN 46038                   SUITE 100D
                                                                     NASHVILLE, TN 37203


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COAL VALLEY, IL 61240            KOSTIANTYNIVKA VILLAGE 72364        PO BOX 125
                                 UKRAINE                             ST. NAZIANZ, WI 54232


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19 WESTERN BATTERY RD, UNIT 2906 103 AVE DE DIEGO APT 702            230 W. MUNROE, SUITE 1920
TORONTO                          SAN JUAN, PR 00901                  CHICAGO, IL 60607
ON M6K 0E3
CANADA

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14134 OAKHAM STREET              1881 N NASH STREET # 2301           3710 EXCHANGE GLENWOOD PLA
TAMPA, FL 33626                  ARLINGTON, VA 22209                 RALEIGH, NC 27012




NV ENERGY                        ON MESSAGE LLC                      PATRYK CIESZKOWSKI
P.O. BOX 30073                   1025 1ST STREET, SE                 30A HIGH STREET
RENO, NV 89520                   WASHINGTON, DC 20003                STEVENAGE SG1 3EJ
                                                                     UNITED KINGDOM


NV ENERGY ACCT # 556             ONE TRUST LLC                       PLANVIEW DELAWARE LLC
P.O. BOX 30073                   1200 ABERNATHY RD NE                12301 RESEARCH BLVD
RENO, NV 89520                   BUILDING 600 SUITE 300              BUILDING 5M SUITE 101
                                 ATLANTA, GA 30328                   AUSTIN, TX 78759


NV ENERGY ACCT # 932             OUTFRONT MEDIA LLC                  PM TECH LLC
P.O. BOX 30073                   185 HIGHWAY 46                      5331 NORTHLAND DRIVE
RENO, NV 89520                   FAIRFIELD, NJ 07004                 SANDY SPRINGS, GA 30342




OAKS TECHNOLOGY LLC              PAGER DUTY                          POLITICAL MEDIA INC
2701 LANDING WAY                 600 TOWNSEND ST SUITE 200           1750 TYSONS BLVD, SUITE 1500
RALEIGH, NC 27615                SAN FRANSCISCO, CA 94103            MCLEAN, VA 22102
                  Case 24-10755-CTG
PREMIER PGR USA INC             REDIRONDoc
                                         PR19 Filed 05/02/24    PageRONALD
                                                                     8 of 11 POUSSON
7310 MANCHACA ROAD              DBA REDIRON PR                     104 LOCUST DR
PO BOX # 152950                 43561 MICHIGAN SQUARE              LINCOLN UNIVERSITY, PA 19352
AUSTIN, TX 78715                LEESBURG, VA 20176


PREMIER PRODUCTIONS LLC          REGISTERED AGENT SOLUTIONS INC / RUSSELL
                                                                   RASI    PERKINS
707 WESTCHESTER DR, STE 202      REGISTERED AGENT SOLUTIONS, INC. 675 PRINCETON WAY
HIGH POINT, NC 27262             PO BOX 7410517, DEPT. 5021       ROCKWALL, TX 75087
                                 CHICAGO, IL 60674-0517


PREY INC                         REMOTE DEV FORCE                  RYAN J MATZE
548 MARKET ST #30152             DBA REMOTE DEV FORCE              10583 JOPLIN STREET
SAN FRANCISCO, CA 94104          4952 S RAINBOW BLVD STE 339       COMMERCE CITY, CO 80022
                                 LAS VEGAS, NV 89118


QA MENTOR INC.                   REZA POURMOHAMMADI PC             SAGEMONT REAL ESTATE
17112 WANDERING WAVE AVE         299 BROADWAY, SUITE 607           2222 12TH AVE S, SUITE 300
ATTN: RUSLAN DESYATNIKOV         NEW YORK, NY 10007                NASHVILLE, TN 37204
BOCA RATON, FL 33496-5624


RACHEL COLBURN                   RICK SPARGUR                      SALESFORCE.COM INC
723 PRES RONALD REAGAN WY        3131 TRINITY DRIVE                PO BOX 203141
APT 403                          COSTA MESA, CA 92626              DALLAS, TX 75320
NASHVILLE, TN 37210


RAMP BUSINESS CORPORATION        ROBERT R STERBA                   SALESLOFT
28 WEST 23RD STREET              603 HILLTOP COURT                 1180 W PEACHTREE ST NW SUIT60
FLOOR 2                          KENNEDALE, TX 76060               ATLANTA, GA 30309
NEW YORK, NY 10010


RAYMOND WONG                     ROBINS KAPLAN LLP                 SAMUEL LIPOFF (SAM)
5145 GOLF RD.                    800 LASALLE AVENUE STE 2800       2877 PARADISE ROAD, APT 205
MERCED, CA 95340                 MINNEAPOLIS, MN 55402             LAS VEGAS, NV 89109




RB STAFFING LLC                  ROCK CREEK ADVISORS LLC           SANDRA MAYES
2460 HIGHLAND SPRINGS RD         888 17TH STREET NW SUITE 810      6006 SPLITROCK TRAIL
BLAINE, TN 37709                 WASHINGTON, DC 20006              APEX, NC 27539




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901 WOODLAND ST., SUITE 104      3306 W. WYOMING CIRCLE            1717 K STREET NW, SUITE 900
NASHVILLE, TN 37206              TAMPA, FL 33611                   WASHINGTON, DC 20006




RED SPARK STATEGY                RONALD GILMORE (DOUG GILMORE)     SCYLLADB INC
1922 S POLLARD STREET            4529 HOLSTEIN HILL DR             2445 FABER PLACE, SUITE 200
ARLINGTON, VA 22204              PEACHTREE CORNERS, GA 30092       PALO ALTO, CA 94303
SEABODEN SOFTWARECase 24-10755-CTG
                               SIERRADoc  19 Filed
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                                                       INC CO   PageSTEPHANIE
                                                                     9 of 11  NASH
209 S STEPHANIE ST, B135       2720 N TENAYA WY                     3983 HWY 41A N
HENDERSON, NV 89012            LAS VEGAS, NV 89128                  CHAPEL HILL, TN 37034




SEAN O'DEA                        SIGNS FIRST                       STEPHEN GERBER
7835 VIA MAZARRON ST.             2461 BRANSFORD AVE.               3945 SENDERO DR.
LAS VEGAS, NV 89123               NASHVILLE, TN 37204               AUSTIN, TX 78735




SECUREDOCS INC                    SIKYUNG CHUNG                     STIMULUS TECHNOLOGIES
6500 HOLLISTER AVENUE SUITE 110   9634 EMERAUDE AVE                 DBA STIMULUS TECHNOLOGIES
GOLETA, CA 93117                  LASVEGAS, NY 89147                PO BOX 50563
                                                                    HENDERSON, NV 89016


SETH DILLON                       SKYSILK                           STITES & HARBISON PLLC
901 WOODLAND ST., SUITE 104       21601 DEVONSHIRE STREET UNITE 116 401 COMMERCE STREET SUITE 8
NASHVILLE, TN 37206               CHATSWORTH, CA 91311              NASHVILLE, TN 37219




SHAMIS & GENTILE, P.A.            SNELL & WILMER                    STRATEGIC RUSH LLC
14 NE 1ST AVE SUITE 705           1 EAST WASHINGTON ST SUITE 2700   4428 TANEY AVUE #402
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SHAWNEE DIGITAL LLC               SONITROL OF SOUTHERN NEVADA       TENANT BUILDING GROUP LLC /TB
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BREWSTER, NY 10509                PO BOX 43052                      NASHVILLE, TN 37211
                                  LAS VEGAS, NV 89104


SHELDON GABRIEL                   SOROKAC LAW OFFICE PLLC          TENNESSEE DEPARTMENT OF LA
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814 E 160TH PLACE                 8965 SOUTH EASTERN AVENUE, SUITE 220
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SHIRLEY AND MCVICKER              SPARKLETTS & SIERRA SPRINGS       TENNESSEE SECRETARY OF ST
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SHOOBX INC.                       STATE OF DELAWARE                 TENNESSEE STATE REVENUE
292 NEWBURY STREET #322           DIVISION OF REVENUE               TENNESSEE DEPARTMENT OF RE
BOSTON, MA 02115                  820 N. FRENCH STREET              ANDREW JACKSON BUILDING
                                  WILMINGTON, DE 19801              500 DEADERICK STREET
                                                                    NASHVILLE, TN 37242
TEYA TIETJE       Case 24-10755-CTG    Doc 19
                                 THURSTON   FUNDFiled   05/02/24 PageVENABLE
                                                   III, LP            10 of 11 LLP
542 TRUFFLES STREET              230 W. MUNROE, SUITE 1920           750 E. PRATT STREET, SUITE 90
HENDERSON, NV 89015              ATT. PATRICK J. HAYNES III, MANAGER ATTN: CASH OPERATIONS
                                 CHICAGO, IL 60607                   BALTIMORE, MD 21202


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THE LAST AMERICAN VAGABOND      TRIBE GLOBAL                         VLADYSLAV KULCHYTSKYY
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FRANKLIN, TN 37064              MCKINNEY, TX 75072                   HASHUA, NH 03063




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                                                                       DC         ONE
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THE OFFICER TATUM LLC               TWILIO INC                       WHITLEY PENN
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SUITE 100                           SAN FRANSCISCO, CA 94105         SUITE 400
SCOTTSDALE, AZ 85255                                                 DALLAS, TX 75225


THE PINK CONSERVATIVE               UPCHURCH WATSON WHITE & MAX MEDIATION
                                                                 WILLDOM -USA LLC
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                    Case 24-10755-CTG
WILSON SONSINI GOODRICH    & ROSATI     Doc 19   Filed 05/02/24   Page 11 of 11
650 PAGE MILL ROAD
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WORDPRESS PLUGIN
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